941 F.2d 1213
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    UNITED STATES of America, Plaintiff-Appellee,v.Tyrone M. CLARK, Defendant-Appellant.
    No. 90-3227.
    United States Court of Appeals, Tenth Circuit.
    Aug. 23, 1991.
    
      Before LOGAN, JOHN P. MOORE and BALDOCK, Circuit Judges.
      ORDER AND JUDGMENT*
      JOHN P. MOORE, Circuit Judge.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The cause is therefore ordered submitted without oral argument.
    
    
      2
      This is an appeal following imposition of a cost of incarceration and supervision fine.   Because the trial court did not impose a punitive fine, the government has confessed the fine is contrary to  United States v. Labat, 915 F.2d 603 (10th Cir.1990), and concedes the fine should be vacated.1  We agree.
    
    
      3
      The case is REMANDED WITH DIRECTIONS to vacate that part of the judgment of conviction imposing a fine in the amount of $7,309.08 "for the cost of supervision and Halfway House costs."
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
      
        1
         Judgment was imposed in this case prior to publication of Labat
      
    
    